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9                         UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
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12    DAVID H. MCCLURE,                         )    Case No. CV 20-9268-CAS (JEM)
                                                )
13                         Plaintiff,           )
                                                )    ORDER ACCEPTING FINDINGS AND
14                  v.                          )    RECOMMENDATIONS OF UNITED
                                                )    STATES MAGISTRATE JUDGE
15    THE COUNTY OF LOS ANGELES                 )
      CALIFORNIA, et al.,                       )
16                                              )
                           Defendants.          )
17                                              )
18          Pursuant to 28 U.S.C. Section 636, the Court has reviewed the pleadings, the
19    records on file, and the Report and Recommendation of the United States Magistrate
20    Judge. No Objections to the Report and Recommendation have been filed within the time
21    allowed for Objections. The Court accepts the findings and recommendations of the
22    Magistrate Judge.
23          IT IS ORDERED that Judgment shall be entered dismissing this action without
24    prejudice.
25

26    DATED:       April 23, 2021
                                                         CHRISTINA A. SNYDER
27                                                  UNITED STATES DISTRICT JUDGE
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